  Case:
   Case:1:19-cv-02412
          1:19-cv-02996Document
                        Document#:#:95-9
                                     79 Filed:
                                         Filed: 01/15/21
                                                04/20/21 Page
                                                         Page 11 of
                                                                 of 33 PageID
                                                                       PageID #:744
                                                                              #:4260




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Rodney Harvey,                         )
                                       )
                      Plaintiff,       )
                                       )
               -vs-                    )   No. 19-cv-2996
                                       )
Thomas Dart, Sheriff of Cook County,   )   Magistrate Judge Cox
and Cook County, Illinois,             )
                                       )
                                       )
                                       )
                      Defendants.      )

                  STATUS REPORT REGARDING SEARCH TERMS

       Pursuant to the Court’s order explained on the record during a motion

hearing on January 13, 2021, the parties submit the following status report:

       Defendant agrees to conduct the following investigation for documents

responsive to paragraph 6 of the plaintiff’s second request for production.

       Defendant also agreed that if the following investigation identifies documents

relevant to any party’s claim or defense that the document will be produced to

plaintiff.

   1. Defendant will inquire with Cook County Health and Hospital System Human

Resources regarding any documents relative to “all documents showing attempts to

retain an oral surgeon to work at the Cook County Jail from January 2016 to the

present.”




                                                                      Exhibit 9 Page 1
  Case:
   Case:1:19-cv-02412
          1:19-cv-02996Document
                        Document#:#:95-9
                                     79 Filed:
                                         Filed: 01/15/21
                                                04/20/21 Page
                                                         Page 22 of
                                                                 of 33 PageID
                                                                       PageID #:745
                                                                              #:4261




   2. Defendant Cook County reported that the only search term proposed by

plaintiff on December 17, 2020 that was overbroad is a search of Dr. Jorelle

Alexander’s e-mail account using the term “omfs.” Defendant Cook County agreed to

produce, by January 22, 2021, e-mails from Dr. Alexander’s account responsive to

the following terms:

      Dr. Jorelle Alexander’s e-mails (and attachments) responsive to the following
      search terms from January 1, 2016 to the present:
          a. “oral surgeon”;
          b. “part time oral surgeon”;
          c. “part-time oral surgeon”;
          d. “digital xray”;
          e. “digital x-ray”;
          f. “panoramic xray”;
          g. “panoramic x-ray”; or
          h. “surgical drills.”


   3. Defendant Cook County agreed to search the following e-mails accounts

based on the following search terms:

      Dr. Jorelle Alexander’s e-mails (and attachments) responsive to the following
      search terms from January 1, 2016 to present:

             a.   “oral surgery” and “wait”;
             b.   “omfs” and “wait”;
             c.   “oral surgery” and “delay”;
             d.   “omfs” and “delay”;
             e.   “cermak” and “transport”;
             f.   “DOJ” and “OMFS”;
             g.   “justice” and “part-time”;
             h.   “DOJ” and “part-time” ;
             i.   “justice” and “part time” ;

                                           -2-



                                                                      Exhibit 9 Page 2
  Case:
   Case:1:19-cv-02412
          1:19-cv-02996Document
                        Document#:#:95-9
                                     79 Filed:
                                         Filed: 01/15/21
                                                04/20/21 Page
                                                         Page 33 of
                                                                 of 33 PageID
                                                                       PageID #:746
                                                                              #:4262




             j. “DOJ” and “part time”; or
             k. “Cermak” and “transportation”


      From January 1, 2016 to the present, e-mails (and attachments) between Dr.
      Jorelle Alexander and Dr. Mohammad Qaisi responsive to the following search
      terms:
         a. “justice” and “part-time”;
         b. “DOJ” and “part-time”;
         c. “justice” and “part time”;
         d. “DOJ” and “part time”;
         e. “Cermak” and “oral surgeon”
         f. “Cermak” and “oral surgeon” and “part-time”;
         g. “Cermak” and “oral surgeon” and “part time”; or
         h. “transportation” and “surgery”


      From January 1, 2016 to the present, e-mails to and from Dr. Claudia Fegan
      responsive to the following search terms:
         a. “Cermak” and “oral surgeon”;
         b. “jail” and “oral surgeon”;
         c. “Cermak” and “oral surgery” and “transportation”;
         d. “jail” and “oral surgery” and “transportation”;
         e. “Cermak” and “oral surgery” and “justice”;
         f. “Cermak” and “oral surgery” and “DOJ”;
         g. “Cermak” and “transportation” and “oral”; or
         h. “jail” and “transportation” and “oral”


                                       Respectfully submitted,

/s/Patrick Morrissey                    /s/ Lisa McElroy (with consent)
Thomas G. Morrissey, Ltd.               JOHNSON & BELL, LTD.
10150 S. Western Ave.                   33 W. Monroe Street, Suite 2700
Chicago, IL 60643                       Chicago, IL 60603
An attorney for plaintiff               An attorney for Defendants




                                         -3-



                                                                          Exhibit 9 Page 3
